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FILED IN OPEN COURT
U.S.D.C. - Atlanta

JUN 2 4 2020
IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF GEORGIA RO Aen
ATLANTA DIVISION

UNITED STATES OF AMERICA
Criminal Information
v.

No. 1:20-CR-223
CHRISTOPHER DOBBINS '

The United States Attorney charges that:

18 U.S.C. § 1030(a)(5)(B)
(Reckless Damage to a Protected Computer)

1. On or about March 29, 2020, in the Northern District of Georgia, the
defendant, CHRISTOPHER DOBBINS, intentionally accessed a protected
computer without authorization, namely, a computer used to operate the
NetSuite account for Company A, and as a result of such conduct,
recklessly caused damage, and the offense caused loss, aggregating at least
$5,000 in value, to Company A during the one year period beginning on or
about March 29, 2020, from DOBBINS’s course of conduct affecting a
protected computer, in violation of Title 18, United States Code, Section

1030(a)(5)(B) and (c)(4)(A)(i).

Forfeiture

2. Upon conviction of the offense alleged in this Information, the

defendant, CHRISTOPHER DOBBINS, shall forfeit to the United States,
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pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i),
the defendant's interest in any and all personal property that was used or
intended to be used to commit or to facilitate the commission of such
violations, as well as any and all property constituting, or derived from,
proceeds obtained directly or indirectly as a result of said violations. Such
property includes, but is not limited to, a money judgment for a sum of
money in United States currency equal to the amount of proceeds the
defendant obtained as a result of the offenses for which the defendant is
convicted.

3. If any of the above-described forfeitable property, as a result of any
act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States
Code, Section 853(p), as incorporated by Title 18, United States Code,
Section 982(b), to seek forfeiture of any other property of said defendant

up to the value of the forfeitable property described above; all pursuant to
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Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(2)(A) & (B),
and Title 28, United States Code, Section 2461(c).

BYUNG J. PAK
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